O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No:    3:93CR167-02
                  RICHARD DONELL HERRON
                                                                            )   USM No: 10683-058
Date of Previous Judgment: May 31, 1994                                     )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    37                Amended Offense Level:                                             35
Criminal History Category: I                 Criminal History Category:                                         I
Previous Guideline Range:  240 to 262 months Amended Guideline Range:                                           240       to 240   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   Pursuant to USSG §5G1.1, the sentence imposed may not be less than the statutorily required
                     minimum sentence. If Amendment 706 (Retroavice Crack Cocaine Amendment) had been in place
                     at the original sentencing, the guildeline sentence would have been the mandatory minimum.
                     Therefore, Amendment 706 has no effect on the defendant's sentence.


III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                      May 31, 1994       shall remain in effect.
IT IS SO ORDERED .

Order Date:          May 1, 2008


Effective Date:
                       (if different from order date)




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